        Case 4:97-cr-40069-JPG                     Document 248             Filed 11/01/06            Page 1 of 4            Page ID #55
%A0 245D      (Rev. 12103) Judgment in a Criminal Case for Revocations
              Sheet 1




                      SOUTHERN                                      District of                                   ILLINOIS

        UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                               v.                                          (For Revocation of Probation or Supervised Release)
                HARLIS R. MOULTON
                                                                           Case Number: 4:97CR40069-006-JPG
                                                                           USM Number: 04168-025
                                                                            Judith A. Kuenneke, FPD                                        XI,
                                                                           Defendant's Attorney
THE DEFENDANT:
@f admitted guilt to violation of condition@) as alleged In Petition                         of the term of

     was found in violation of conditioo(s)                                              after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                    Nature of Violation                                                             Violation Ended
 Statutory                           Defendant committed offense of Operat~ngUninsured Vehicle                       4/18/2006



 3                                   The defendant failed to cooperate in collection of DNA                          5/5/2006



       The defendant is sentenced as provided in pages 2 through                  4      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
     The defendant has not violated condition(s)                                      and is discharged as to such violation(s) condition.


                                                         "i
          It is ordered that the defendant must noti the United States attorney for this district within 30 days of any
change of name, residence, or mailing address untl all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restltutlon, the defendant must not~fythe court and Un~tedStates attomey of material changes m
economic circumstances.

Defendant's Soc Sec No.:       XXX-XX-XXXX

Defendant's Date ofBinh:       1111911978


Defendant's Residence Address:

 1420 South Locust, Centralia. IL
                                                                            J. Phil Gilbert                                  District Judge
                                                                           Name of Judge                                  Title of Judge




Defendant's Mailing Address:

Same as above
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 A 0 245D     (Rev. 12/03 Judgment in a Criminal Case for Revocations
              Sheet 2- Imprisonment

                                                                                                        Judgment-Page   2of           4
 DEFENDANT: HARLIS R. MOULTON
 CASE NUMBER: 4:97CR40069-006-JPG


                                                               IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term o f :
8 months




           The court makes the following recommendations to the Bureau of Prisons:




      @ The defendant is remanded to the custody of the United States Marshal,
           The defendant shall surrender to the United States Marshal for this district:
                at                                  13 a.m.        13 p.m.    on
                as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.

                                                                        RETURN
 I have executed this judgment as follows:




         Defendant delivered on                                                           to

 at                                                     with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL


                                                                             BY
                                                                                                  DEPUTY UNITED STATES MARSHAL
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A 0 245D     (Rev. 12103) Judgment in a Criminal Case for Revocations
             Sheet 3 -Supervised Release


DEFENDANT: HARLIS R. MOULTON
                                                                                                       Judgment-Page    3of                4

CASE NUMBER: 4:97CR40069-006-JPG
                                                            SUPERVISED RELEASE
Upon release fronl imprisonment, the defendant shall be on supervised release for a term of:
4 8 month



         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prtsons.
The defendant shall not commit another federal, state or local crime.
'fhs defendant shall not unla\rfully possess a conrrolled substancs. f h c defendant shall refrain from an) unlawhrl use of a conrrolled
suhstancc. Thu dsfenllant shall submit to onc drua- test \r ithin I3 dats of relcase from im~risonmentand at least two prr~odlcdrug tc<ts
thereafter as determined by the court.
       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, if applicable.)
       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this 'udgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance with
the Schedule ofpayments sheet of this judgment.
          The defendant must comply with the standard conditions thathave beenadopted by this court as well as with any additional conditions
on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
        each month;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation offtcee
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or an) paraphernalia relilted to any controlled substances, cvcept ns prescribed by a ph)sician:
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defcnditnt shall not associate with any persons engaged in cr~rninalactivit) and shall not asqouiate with any person con\ictcd of
        a felony, unless granted permission to do so b) the prubat~onafficer.
 10)    the defendant shall p e ~ iatprobation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed m plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the robation officer, the defendant shall notifythird parties of risks that may be occasioned by the defendant's criminal
        record or personay history or charactertsttcs and shall permlt the probatton officer to make such nottficatlons and to c o n f m the
        defendant s compliance with such notification requirement.
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            Sheet 3C - Supervised Release


DEFENDANT: HARLIS R. MOULTON
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                                          SPECIAL CONDITIONS OF SUPERVISION
The defendant shall spend the firt 180 in a half-way house as directed by probation.

The defendant shall participate in a program of mental health treatment as directed by probation

The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
dependence, or alcohol dependence, which includes urinalysis or other drug detectino measures and which may require
complete abstinence from all alcoholic beverages. The defendant shall pay for the costs associated with substance abuse
counseling andlor testing based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay
shall never exceed the total costs of counseling.
